      Case 2:13-cr-02109-FVS     ECF No. 265    filed 03/05/14   PageID.587 Page 1 of 1




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 4                         UNITED STATES DISTRICT COURT
 5                       EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,                       No. 2:13-CR-2109-FVS-5
 7
 8                      Plaintiff,                   ORDER DENYING DEFENDANT’S
 9 vs.                                               MOTION FOR RECONSIDERATION
10 DANIEL BRIAN MIMS,                                ☒    Motion Denied
                                                          (ECF No. 263)
11
                Defendant.
12                                                   ☐    Action Required
13
14   Date of bail review hearing: 03/05/2014
15   ☒     Insufficient information presented to reasonably assure Defendant’s future
16   appearance.
17   ☒     There are no conditions or combination of conditions other than detention
18   that will ensure the safety of the community.
19         The court requested more information and advised Defendant that the issue
20   of bail may be reopened at a later date.
21         IT IS ORDERED Defendant’s Motion for release from custody (ECF No.
22   263) is DENIED. Defendant shall remain in the custody of the U.S. Marshal
23   pending further order of the court.
24         DATED March 5, 2014.
25
                                  s/James P. Hutton
26                               JAMES P. HUTTON
27                       UNITED STATES MAGISTRATE JUDGE
28
     ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION - 1
